 

Case: 3:97-cr-50026 .cument #: 359 Filed: 05/26/98 Pa' of 3 Page|D #:1850

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v. ) No, 97 ca 50026-4 6;_;;\§,?
) Judge Philip G. Reinhard z 639
MAURICE BUCHANAN ) /-t_q leg
UN]_TED sTATES' mFoRMATIoN To DEFENDANT G:PSO
MAURICE BUCHANAN REGARDH~IG sl_`
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The United States of America, by SCOTT R_ LASSAR, United States Attorney for the
Northern Distn`ct of Illinois, pursuant to 21 U.S_C. § 851, notifies defendant Maurice Buchanan that
the government will rely upon and prove for purposes of enhanced sentencing and penalties that on
approximately August 4, 1995, in cause number 94 CF 1314, Winnebago County Circuit Court,
Illinois, defendant was convicted of manufacturing and delivery of cannabis and possession of a
controlled substance, felony drug offenses, and sentenced to 3 years probation

Under 21 U. S.C. § 841(b)(1)(A)(iii), if convicted of the charge contained in Count One in the
present Superseding Indictment, defenth must be sentenced to at least twenty (20) years i
imprisonmemt, may be sentenced up to life imprisonment without release, a fine of up to $8,000,000,
and placed on supervised release for at least ten (10) years and up to life.

Under 21 U.S.C. § 841(b)(1)(B)Gii), if convicted of the charge contained in Count Five in the
present Superseding lndictment, defenth must be sentenced to at least ten (10) years imprisonment,
may be sentenced up to life imprisonment without release, a fine of up to $4,000,000, and placed on

supervised release for at least eight (8) years and up to life.

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Under 21 U.S.C. § 84l(b)(l)(C), if convicted of the charge contained in Count Six in the
present Superseding Indictment, defendant may be sentenced up to thirty (3 0) years imprisonment,
a fine of up to $2,000,000, and placed on supervised release for at least six (6) years and up to life.

Under 21 U.S.C. § 841(b)(1)(C), if convicted of the charge contained in Count Seven in the
present Supersecling Indictment, defendant may be sentenced up to thirty (30) years imprisonment,
a fine of up to $2,000,000, and placed on supervised release for at least six (6) years and up to life.

Under 21 U.S.C. § 841(b)(1)(C), if convicted of the charge contained in Count Ten in the
present Superseding Indictment, defendant may be sentenced up to thirty (3 0) years imprisonment,
a tine of up to $2,000,000, and placed on supervised release for at least six (6) years and up to life.

Under 21 U.S.C. § 84l(b)(l)(A)(1ii), if convicted of the charge contained in Count Seventeen
in the present Superseding Indictment, defendant must be sentenced to at least twenty (20) years
imprisonment, may be sentenced up to life imprisonment without release, a fine of up to $8,000,000,
and placed on supervised release for at least ten (10) years and up to life.

WHEREFORE, the United States respectfully submits this information

Respectfhlly submitted,

SCOTT R. LASSAR
United States Attorney

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JOHN G MCKENZIE

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CERTIFICATE OF FILING AND SERVICE
I, JOHN G. McKENZlE, certify that on May 26, 1998, I caused the foregoing pleading in this
case: (l) to be filed with the Clerk of the United States District Court for the Northern District of
Illinois, Westem Division; and (2) a copy thereof to be hand-delivered to Mark Danielson, Esq.
JOHNJC?`LAICKEN:IE-Z"\l>
Assistant United States Attorney

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